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                       Exhibit 20
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                                                             Ellysmar Gomez <egomez@krispykremepr.com>



Re: Glaze On shareholders' agreement
Tony Larrea <TONYLARREA@krispykremepr.com>                               Mon, Nov 22, 2004 at 12:36 PM
To: Scs@mcvpr.com
Cc: John Cook <jcook@krispykremepr.com>, Ellysmar Gomez <egomez@churchspr.com>

 Saludos Sammy,

 Gracias por tu ayuda.

 Si es posible, nos gustaria tener una primera version del contrato para
 el 30 de noviembre. Puedes usar el contrato de Pollo como punto de
 partida, sin embargo ese es un documento sencillo que hay que adaptar al
 “SH Agreement” de Caribbean Glaze. En otras palabras, la idea no es
 complicar el contrato de Glaze On, pero si debe reflejar las
 restricciones y obligaciones de Glaze On para con Caribbean Glaze. La
 lista de accionistas te la envio el mismo 30 de noviembre. Avisanos si
 tienes cualquier duda.

 Gracias.


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 Sent from my BlackBerry Wireless Handheld
